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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

ANDREW FLOOD,                                  )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             )       1:24-cv-00239-SDN
                                               )
CHARLES BALL, et al.,                          )
                                               )
                   Defendants.                 )

                                          ORDER

         On March 25, 2025, the United States Magistrate Judge filed with the Court his

Recommended Decision on the Court’s preliminary review in accordance with 28 U.S.C.

§ 1918A. The time within which to file objections expired on April 8, 2025, and no

objections have been filed. The Magistrate Judge notified the parties that failure to object

would waive their right to de novo review and appeal.

         Therefore, I AFFIRM and ADOPT the Recommended Decision of the Magistrate

Judge.

         SO ORDERED.

         Dated this 17th day of April, 2025.


                                                   /s/ Stacey D. Neumann
                                                   UNITED STATES DISTRICT JUDGE




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